                  UNITED STATES DISTRICT COURT
                  EASTERN DISTRICT OF WISCONSIN


MARIO L. ALLEN

                      Plaintiff,

 v.                                                           Case No.19-CV-205

ANGELA THOMPSON,

                            Defendant.


                                        ORDER


      Defendant Angela Thompson filed a motion for summary judgment on July

30, 2020. (ECF No. 39.) Pursuant to Civil L.R. 56(b)(2), pro se plaintiff Mario L.

Allen had until August 31, 2020, to respond to Thompson’s motion. To date, Allen

has yet to respond.

      The court will give Allen one final opportunity to, within fourteen days of the

date of this order, either respond to Thompson’s summary judgment motion or file a

letter explaining why he is unable to do so. If Allen fails to file a response or file his

explanatory letter by this date, the court will accept all facts asserted by Thompson

as undisputed and will enter summary judgment accordingly. This will likely result

in summary judgment being granted in Thompson’s favor and the case being

dismissed.

      NOW, THEREFORE, IT IS HEREBY ORDERED that, by September 29,

2020, Allen must either respond to Thompson’s motion for summary judgment or




        Case 2:19-cv-00205-WED Filed 09/15/20 Page 1 of 2 Document 43
file a letter explaining why he is unable to do so. Failure to respond by that date

will result in the court accepting all facts asserted by Thompson as undisputed and

entering summary judgment accordingly.



      Dated at Milwaukee, Wisconsin this 15th day of September, 2020.


                                             BY THE COURT




                                             WILLIAM E. DUFFIN
                                             United States Magistrate Judge




                                         2


       Case 2:19-cv-00205-WED Filed 09/15/20 Page 2 of 2 Document 43
